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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

EQUAL EMPLOYMENT                                    §
OPPORTUNITY COMMSION                                §
                                                    §
       Plaintiff,                                   §
                                                    §
AND                                                 §
                                                    §
ALFREDO GARCIA, ANA TREVINO,                        §
FRANCISCO ANDRADE, JOSE                             §
ARREAZA, AVILIO ARRIAZA, ALMA                       §
BALDERAS, ANGELICA CORTES,                          §
ISRAEL FLORES, JOSE FLORES,                         §
VICTOR FLORES, MIGUEL GAMEZ,                        §
TOMAS GALVAN,                                       §
VICTOR GUEVARA, ADRIAN GUILLEN,                     §
CLEOFAS HINOJOSA, SERGIO IRETA,                     §              No. 5:18-CV-00990-DAE
JAIME LEAL, VERONICA NAVARRETE,                     §
MIGUEL PEREZ, ERICK RUIZ, ERNESTO                   §
VASQUEZ RUBIO, GUILLERMO VITELA,                    §
AND SERGIO VITELA                                   §
                                                    §
       Plaintiffs-Intervenors,                      §
                                                    §
V.                                                  §
                                                    §
DH SAN ANTONIO MANAGEMENT, LLC,                     §
FORMERLY DHR SAN ANTONIO                            §
MANAGEMENT, INC., AND                               §
DESTINATION HOTELS AND RESORTS,                     §
LLC., FORMERLY DESTINATION HOTELS                   §
AND RESORTS, INC. D.B.A.                            §
LA CANTERA HILL COUNTRY RESORT                      §
                                                    §
       Defendants.                                  §

         PLAINTIFFS-INTERVENORS’ MOTION TO COMPEL DISCOVERY

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Alfredo Garcia, Ana Trevino, Francisco Andrade, Jose Arreaza, Avilio

Arriaza, Alma Balderas, Angelica Cortes, Israel Flores, Jose Flores, Victor Flores, Tomas Galvan,

Miguel Gamez, Victor Guevara, Adrian Guillen, Cleofas Hinojosa, Sergio Ireta, Jaime Leal, Veronica

Navarreta, Miguel Perez, Erick Ruiz, Ernesto Vasquez Rubio, Guillermo Vitela, and Sergio Vitela

(hereinafter collectively, “Plaintiffs/Intervenors”), and respectfully moves the Court to compel
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Defendants to produce documents and answer interrogatories under Federal Rule of Civil Procedure

37, and in support thereof would show as follow:

                                         I. BRIEF FACTS

         The La Cantera Hill Country Resort, now operating as the La Cantera Resort & Spa,

(hereinafter “La Cantera”), is a luxury resort property located on 550 acres in San Antonio, Texas.

On or about December 12, 2013, the Defendants took over management of La Cantera. When the

Defendants began their management of La Cantera, the Banquet Department’s staff was

predominantly comprised of Hispanic employees who had been hired by the property’s former

management company, many of whom had been employed for several years.

         In Fall 2014, the Defendants implemented several staffing policy changes pertaining to the

Banquet Department, the department in which Plaintiffs/Intervenors worked. Defendants hired

Will Primavera and Kathleen Bischoff to oversee the Banquet Department. In October 2014,

Defendants implemented an unwritten English-only policy prohibiting employees from speaking

Spanish while at work. Primavera and Bischoff were primarily responsible for the enforcement of

the English-only policy. While doing so, they also subjected the Plaintiffs/Intervenors to ridicule,

verbal abuse, and harsh treatment because of the Plaintiffs/Intervenors’ national origin, Hispanic.

         The Defendants’ unwritten English-only policy prohibited employees from speaking any

language other than English while at work. This policy was in effect on the entire property,

including both the “front” and the “back of the house,” as well as on employee breaks, and

regardless of whether patrons were nearby. Employees were frequently scolded and threatened with

termination for speaking Spanish, even when the individuals present were all Spanish speaking.

         Shortly after implementing the English-only policy, Defendants closed the La Cantera

property for approximately six months for renovation (November 2014 through April 2015). Even

though guests were not present for much of this period, the English-only policy remained in full

force.

         After many of the Plaintiffs/Intervenors communicated their concerns about the English-

only policy during an October 6, 2014 meeting, the Defendants retaliated against
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Plaintiffs/Intervenors.     This retaliation included verbal warnings, documented disciplinary

counseling or “write-ups,” and, ultimately termination.      In response to complaints about the

English-only policy, Defendants’ Human Resources Director stated, “This is America, so speak

English! What’s the problem?”         After this incident, enforcement of the English-only policy

increased.

        When Defendants initially began to manage La Cantera, each of the Banquet Captains, the

Assistant Manager, and the Director of Banquets were Hispanic. After the first year of Defendants’

management, there were no remaining Hispanic employees in senior management positions in the

Banquet Department. This was a direct result of the English-only policy that was implemented,

national origin discrimination, and related retaliation.

        Plaintiffs/Intervenors have requested various documents and information from Defendants

regarding, among others, personnel files of the Plaintiffs/Intervenors, previous similar disciplinary

actions against other employees, Defendants’ policies and procedures, personnel files of Defendants’

managers who were responsible for the harassment and retaliation, documents relating to the

Plaintiffs/Intervenors’ terminations/resignations/demotions, and documents regarding any

“English Only” and/or “No Spanish” policies.

                                     I. DISCOVERY DISPUTE

        On or about April 26, 2019, Plaintiffs/Intervenors initially sent 23 sets of discovery

requests—both interrogatories and requests for production—for each class member in this case. See

Exhibit A, an exemplar set of the discovery sent to Defendants.            At Defendants’ request,

Plaintiffs/Intervenors agreed to postpone the deadline for Defendants to respond to these requests

to accommodate Defendants’ request for the parties to attend mediation. By agreement, Defedants’

responses would not be due until August 2, 2019.

        On August 2, Plaintiffs/Intervenors received both Defendants’ Answers and Objections to

Plaintiffs/Intervenors’ First Set of Interrogatories and Defendants’ Answers and Objections to

Plaintiffs/Intervenors’ First Request for Production of Documents. Defendants filed 23 sets of

identical objections with no substantive responses to all of Plaintiffs/Intervenors’ First Set of
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Interrogatories.   See, e.g., Exhibit B, an exemplar set of Answers to Plaintiffs/Intervenors’

Interrogatories.   Defendants also filed 23 sets of identical responses to Plaintiffs/Intervenors’

Request for Production of Documents—where Defendants objected to responded inadequately to

all of Plaintiffs/Intervenors’ Request for Production. See, e.g., Exhibit C, an exemplar set of

Responses to Plaintiffs/Intervenors’ Requests for Production.

        Specifically, in response to Plaintiffs/Intervenors’ Interrogatories, Defendants objected to

twenty out of twenty-five interrogatories. See, e.g., Exhibit B. For instance, in a case revolving

around whether or not Defendants implemented and enforced an “English-only” policy, Defendants

objected to the following Interrogatories:




See Exhibit B.

        In these few interrogatories that they responded to, they merely stated “Defendants will

produce documents pursuant to Rule 33(d) which are responsive to this interrogatory at a mutually

agreed time and place.” See id. at 3, 4.

        Then, in response to Plaintiffs/Intervenors’ Requests for Production, Defendants objected
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to every request for production except for numbers 6, 16, 20, 21, 37, 45, 46, and 116—in which they

gave this same “mutually agreed time and place” response—and numbers 26, 29, 30, and 48—in

which they stated that there were no responsive documents. See, e.g., Exhibit C at 7, 8, 11.

       Defendants filed this exact same set of responses to both Plaintiffs/Intervenors’

Interrogatories and Requests for Production. See, e.g., Exhibit B; C. The only difference between

the 24 sets of responses is the Class Members’ name. See id. Because of this, on August 2, 2019,

Plaintiffs/Intervenors’ counsel sent an e-mail explaining that Defendants’ answers were provide in

bad faith and requesting that Defendants remove their objections and/or supplement their

Responses by August 5, 2019. See Exhibit D. Additionally, per Rule 37(a)(1) of the Federal Rules of

Civil Procedure, Plaintiffs/Intervenors attempted to confer with Defendants in an effort to obtain

the discovery without court action. See Exhibit E; see also FED. R. CIV. P. 37(a)(1) (“the motion [to

compel] must include a certification that the movant has in good faith conferred or attempted to

confer with the person or party failing to make disclosure or discovery in an effort to obtain it

without court action”). On August 7, Plaintiffs/Intervenors received a response from one of the

attorneys of record for Defendants, which only stated that “response documents” would be sent,

but failed to address the remaining issues regarding the responses and boilerplate objections. As of

today, Defendants still have not removed or altered their responses and objections. On August 8,

2019, Defendants produced 1,235 pages of documents, without any indication of which requests the

documents were in response to or any exhibit list to indicate what the documents were.

       Included within these documents were random and disorganized bates-labeled documents.

The largest section of this 1,200-page document included what may be the Plaintiffs/Intervenors’

personnel files. There were only a few documents related to the investigation of the complaints of

the English-only policy, and several other documents that Plaintiffs/Intervenors are unable to

identify how or why are responsive to the pending discovery requests.

       Defendants have had approximately three months to compile the Plaintiffs/Intervenors’

files and responsive documents, and have had over three years of responding to the Equal

Employment Opportunity Commission (hereinafter “EEOC”)’s inquiries. Individual investigations
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were conducted by the EEOC and Defendants and individual findings, responses, and documents

were exchanged; yet, Defendants fail to provide anything of substance to Plaintiffs/Intervenors’

discovery requests. This discovery is crucial to Plaintiffs/Intervenors because it sought information

regarding the personnel files of the Plaintiffs/Intervenors, previous similar disciplinary actions

against other employees, Defendants’ policies and procedures, documents relating to the

Plaintiffs/Intervenors’ terminations/resignations/demotions, and documents regarding any

“English Only” and/or “No Spanish” policies, among other highly relevant topics.

       This Court should compel Defendants to produce the missing discovery to

Plaintiffs/Intervenors because 1) Defendants failed to state the specificity for their objections and

failing to provide the non-objectionable information; 2) Defendants copy and pasted boilerplate

objections to every one of Plaintiffs/Intervenors discovery requests and thus waived their

objections; and 3) Defendants failed to timely produce documents and when they did, failed to

categorize or identify the documents produced as one giant, 1,200+ page document.

                             II. ARGUMENTS & AUTHORITIES

       A. Federal Standards for Discovery.

       Federal Rule of Civil Procedure 37(a) governs motions to compel discovery responses. Rule

37(a)(3)(B) provides that a party seeking discovery may move for an order compelling production or

answers against another party when the latter has failed to produce documents requested under

Federal Rule of Civil Procedure 34 or to answer interrogatories under Federal Rule of Civil

Procedure 33. See FED. R. CIV. P. 37(a)(3)(B)(iii)-(iv). For purposes of Rule 37(a), “an evasive or

incomplete disclosure, answer, or response must be treated as a failure to disclose, answer, or

respond.” FED. R. CIV. P. 37(a)(4).

               i.      Recent Amendments Regarding Discovery.

       Notably, the Federal Rules of Civil Procedure were amended in 2015 to impose more

stringent standards on discovery responses. See FED. R. CIV. P. 26; 34. Rule 26(b)(1) now provides

that, “[u]nless otherwise limited by court order, the scope of discovery is as follows: Parties may

obtain discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense
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and proportional to the needs of the case, considering the importance of the issues at stake in the

action, the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit. Information within this scope of

discovery need not be admissible in evidence to be discoverable.” FED. R. CIV. P. 26(b)(1).

       Rule 34 was also amended in 2015 to specifically target boilerplate objections by requiring

parties to respond to each discovery item or object by stating “with specificity the grounds for

objecting to the request, including the reasons.” FED. R. CIV. P. 34(b)(2)(B). Additionally, the

amendment now requires parties to state whether they are actually withholding responsive

documents on the basis of their stated objections. FED. R. CIV. P. 34(b)(2)(C).

               ii.     Burden of the Party Resisting Discovery.

       These amendments, however, do not alter the basic allocation of the burden on the party

resisting discovery to – in order to successfully resist a motion to compel – specifically object and

show that the requested discovery does not fall within Rule 26(b)(1)’s scope of relevance (as now

amended) or that a discovery request would impose an undue burden or expense or is otherwise

objectionable. See McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir.

1990); Heller v. City of Dallas, 303 F.R.D. 466, 483-93 (N.D. Tex. 2014). The specific objection must

also show that the discovery fails the proportionality calculation mandated by Federal Rule of Civil

Procedure 26(b) by coming forward with specific information to address the importance of the

issues at stake in the action, the amount in controversy, the parties’ relative access to relevant

information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.

       B. Defendants Failed to State the Specificity of their Objections and Failed to
          Provide Objections to the Non-Objectionable Information.

       Defendants failed to comply with Rule 34 of the Rules of Federal Procedure because they

failed to state with specificity the grounds for objecting to the requests, including the reasons. See

FED. R. CIV. P. 34(b)(2)(B). As discussed above, a party resisting discovery must show specifically
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how each discovery request is not relevant or otherwise objectionable. See McLeod, 894 F.2d at 1485.

In response to a Rule 34 request, “[f]or each item or category, the response must state that

inspection and related activities will be permitted as requested or state with specificity the grounds

for objecting to the request, including the reasons.” FED. R. CIV. P. 34(b)(2)(B). “An objection

must state whether any responsive materials are being withheld on the basis of that objection. An

objection to part of a request must specify the part and permit inspection of the rest.” FED. R. CIV.

P. 34(b)(2)(C).

        The same standards apply for interrogatory responses. Under Rule 33, “[e]ach interrogatory

must, to the extent it is not objected to, be answered separately and fully in writing under oath”;

“[t]he grounds for objecting to an interrogatory must be stated with specificity”; and “[a]ny ground

not stated in a timely objection is waived unless the court, for good cause, excuses the failure.” Fed.

R. Civ. P. 33(b)(3)-(4).

        In Merrill v. Waffle House, Inc., the United States District Court for the Northern District of

Texas examined a discovery dispute in in a race discrimination case where a Magistrate Judge

previously granted the Plaintiffs’ Motion to Compel Production of Documents. See Merrill v. Waffle

House, Inc., 227 F.R.D. 475, 477 (N.D. Tex. 2005). In that case, the Plaintiffs requested extensive

discovery pertaining to the Defendant’s financial records and its employee training procedures. Id.

The Defendant objected on several grounds—one being that the thousands of documents Plaintiffs

requested from 1400 nationwide Waffle House restaurants were burdensome and costly. Id. The

Court overruled this objection and stated that the “Defendant cannot attack the propriety of

Plaintiffs’ discovery requests with hypothetical arguments [and that] Defendant must

produce specific evidence that each challenged discovery request causes it to incur an

actual and undue burden.” Merril, 227 F.R.D. at 478.

        Additionally, in S.E.C. v. Brady, the court examined another discovery dispute where a party

objected to a subpoena on the basis that it was overbroad and unduly burdensome. S.E.C. v. Brady,

238 F.R.D. 429, 437 (N.D. Tex. 2006). The court stated that the party’s objections were not specific

enough and that the “objecting party must make a specific, detailed showing of how a request
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is burdensome.” Id. “A mere statement by a party that a request is “overly broad and unduly

burdensome” is not adequate to voice a successful objection.” Id. Moreover, the court stated that

“broad-based, non-specific objections are almost impossible to assess on their merits, and fall

woefully short of the burden that must be borne by a party making an objection to an interrogatory

or document request.” Id. A party asserting undue burden typically must present an affidavit or

other evidentiary proof of the time or expense involved in responding to the discovery request. Id.

        Here, Defendants objected to almost every single interrogatory and request for production,

and when objecting on the basis that the request was too broad or burdensome, Defendants did not

specifically show how. For example, in Interrogatory number 2, Defendants objected to a majority

of Plaintiffs/Intervenors’ discovery stating:

        Defendants object as this request is overbroad and outside the scope of permissible
        discovery. Defendants further object as this request is vague.

        See Exhibit B at 2.

        Defendants provided this same objection in interrogatories numbers 1, 2, 3, 4, 12, 13, 14, 15,

16, 17, 19, 20, 21, 22, 23, 24, and 25 for every class members’ request. See, e.g., Exhibit B. In none

of these objections did Defendants state specifically how each request was overly broad,

burdensome, or oppressive. Rather, they copy and pasted this same boilerplate objection without

any explanation.

        Further, Defendants failed to provide any type of affidavit or evidentiary proof showing the

time or expense involved in responding to this discovery request. See Brady, 238 F.R.D. at 437

(requiring a party resisting discovery on an “overly burdensome or costly” basis to provide evidence

showing why production would be burdensome or costly). Therefore, this Court should compel

Defendants to respond to every single one of Plaintiffs/Intervenors discovery requests that

Defendants objected to with a mere “overbroad and unduly burdensome” type of statement.

        C. Defendants’ Identical Boilerplate Objections to Every Discovery Request
           Constitutes Waiver.

        As described above, Defendants have repeatedly issued boilerplate objections to

Plaintiffs/Intervenors’ interrogatories and requests for production as “overbroad and outside the
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scope of permissible discovery” or “vague” without providing specific explanations for the bases for

the objections.

       Boilerplate objections such as these violate Rule 34(b)(2)(B) and 34(b)(2)(C), and these

boilerplate objections are improper and result in waiver of the unsupported objections. Rule

26(b)(1) states that a party may not “refuse discovery simply by making a boilerplate objection that it

is not proportional.” FED. R. CIV. P. 26(b)(1).

       For example, in Halleen v. Belk, Inc., the court examined a party’s discovery objections.

Halleen v. Belk, Inc., No. 4:16-CV-55, 2018 WL 3735579, at *3 (E.D. Tex. Aug. 6, 2018). The

resisting party objected to the requesting party’s discovery responses with boilerplate objections

consisting of assertions of privilege.    Id.     The court stated that these boilerplate objections

constituted waiver of objections and that “[a] party may not ‘refuse discovery simply by making a

boilerplate objection that it is not proportional.” Id. The party’s boilerplate responses failed to

specify the scope of its answer in relation to the request, which then made it impossible for the

requesting party or the court to assess the sufficiency of the response. Id. The resisting party’s

continuous use of boilerplate objections was not supported by the federal rules and went against the

purposes of a “just, speedy, and inexpensive resolution.” Id.

       Here, Defendants produced identical responses to every Plaintiffs/Intervenors’ Requests for

Production and Interrogatories. See, e.g., Exhibit B, C. The only difference between each response

was the class members’ name. See id. In these identical responses, Defendants objected to almost

every single request or stated that it would provide these responses “at a mutually agreed time and

place.” These types of objections to requests for production and interrogatories are the kind that

Courts have warned are improper. See Heller, 303 F.R.D. at 483-93.

       Therefore, Defendants failure to specify specific grounds in the objections and use of

boilerplate objections result in waiver of those objections. FED. R. CIV. P. 34(b)(2)(B); Keycorp v.

Holland, No. 3:16-cv-1948-D, 2016 U.S. Dist. LEXIS 147926, 2016 WL 6277813 at *11 (N.D. Tex.

Oct. 26, 2016) (“boilerplate objections are improper and result in waiver of the unsupported

objections”). As a result, this Court should order Defendants to provide amended responses to
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Plaintiffs/Intervenors’ discovery requests and should find that Defendants waived their right to

object to any of these requests.

        If this Court finds that these objections are not waived, then they should be overruled.

Defendants have not met their burden to explain the specific and particular way in which each

request is vague and have failed to specify which document they are withholding within each

objection. See id. at 491.

        D. Even Defendants few Responses to Plaintiffs/Intervenors’ Discovery Requests
           are Deficient.

        In the few requests that Defendant did respond to, they failed to point

Plaintiffs/Intervenors to any actual documents or productions. Specifically, in the interrogatory

responses to numbers 5, 7, 8, 9, 10 and 11, and to the request for production responses to numbers

6, 16, 20, 21, 37, 45, 46, and 116, Defendants stated:

        Defendants will produce documents pursuant to Rule 33(d) which are responsive to this
        interrogatory at a mutually agreed time and place.

See Exhibit B; Exhibit C.

        This still fails to comply with the Federal Rules of Civil Procedure because it fails to produce

any documents or specify the reason for not producing documents. This is particularly violative of

Rule 33(d). This rule, focusing on interrogatories, states that in responding to an interrogatory

answer, an answering party “must specify the information that [the requesting party] should review

in sufficient detail to enable [the requesting party] to locate and identify the information in the

document [at least] as readily as [an answering party] could.” McKinney/Pearl Rest. Partners, L.P. v.

Metro. Life Ins. Co., No. 3:14-cv-2498-B, 2016 U.S. Dist. LEXIS 68354, 2016 WL 2997744, at *9

(N.D. Tex. May 25, 2016).          This generally requires an answering party “to point to specific

documents, by name or bates number,” and not pointing the requesting party generally to document

productions. Id. at *10. Therefore, even the few responses that Defendants did produce were

deficient.

                WHEREFORE, PREMISES CONSIDERED, Plaintiffs/Intervenors pray that

notices be issued, that this court overrule any objections asserted by Defendants and that
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Defendants be compelled to produce the items requested, adequately respond to the Interrogatories,

and for such other and further relief to which Plaintiffs/Intervenors are justly entitled.

                                                        Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

        On August 2, 2019, I sent an email to counsel for Defendants requesting these specific

deficiencies be resolved. I asked for a response by Monday, August 5 at 5:00 p.m., but did not

receive a response. On August 3, I sent another email to counsel for Defendants and specifically

asked to confer regarding these issues. I received a non-substantive response from one attorney of

record for Defendant that he was out of town and that we would only receive some documents

from his office, but received no response from the other attorney-of-record for Defendant and

received no response to our repeated request for substantive answers and the removal of boilerplate

objections made the basis of this Motion.

        Accordingly, reasonable efforts were made to confer in good faith, and further, specific

reference was made to the arguments that would be made in a Motion to Compel, should one be

necessary. However, no response to these issues was received.

                                                                  /s/ Javier Espinoza        ,
                                                                JAVIER ESPINOZA
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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served via e-mail on August 8,
2019 to the counsel listed below:

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                                                             /s/ Javier Espinoza      ,
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